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 5
                                 UNITED STATES DISTRICT COURT
 6
                              CENTRAL DISTRICT OF CALIFORNIA
 7
     STEPHENIE SAPP                                     ) Case No.:
 8                                                      )           8:19-cv-00032
                    Plaintiff,                          ) _________________________
 9                                                      )
            vs.                                         ) COMPLAINT FOR A CIVIL CASE
10                                                      ) ALLEGING NEGLIGENCE
     HECTOR ROMERO-MORAN,                               )
11                                                      )
                    Defendant.                          )
12                                                      )
                                                        )
13

14
            Plaintiff Stephenie Sapp, for her complaint for damages against Hector
15
     Romero-Moran, states as follows:
16                                            THE PARTIES
17
     1. Plaintiff Stephenie Sapp (herein "Plaintiff" or "Ms. Sapp") is a resident of the
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     State of Arizona.
19
     2. On the date of the accident giving rise to this action, Hector Romero-Moran
20
     ("Defendant") was a resident of the State of California, and upon information and
21
     belief, currently resides in San Juan Capistrano, Orange County, California.
22
                                     NATURE OF THE ACTION
23

24   3. This is an action to recover damages occasioned by the automotive negligence
25   of Defendant.
26                                  JURISDICTION AND VENUE
27
     4. This Court has subject matter jurisdiction of this matter involving diverse
28
     parties in which the matter in dispute exceeds $75,000, exclusive of interest and

     ______________________________________________                            _______________________________
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 1
     costs of court, pursuant to 28 U.S.C. § 1332, because Ms. Sapp has suffered
 2
     personal injuries of a severe and permanent nature as alleged in substantial detail
 3
     hereinbelow.
 4
     5. This Court has personal jurisdiction over Defendant because he is a resident of
 5
     San Juan Capistrano, California.
 6
     6. Venue is proper in this District pursuant to 28 U.S.C. § 1391(c)(1), and intra
 7
     district venue is proper because Defendant is domiciled in the Southern District of
 8
     California.
 9                                  FIRST CLAIM FOR RELIEF
                                           Negligence
10

11
     7. Plaintiff realleges and incorporates by reference herein each and every

12
     allegation set forth herein as if set forth fully hereat.

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     8. On January 14, 2017, Ms. Sapp was the passenger in a 2000 Toyota Corolla

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     stopped on the side of the road on California on SR-18, 37ft North of SR-38, in an

15
     unincorporated area of San Bernardino County.

16
     9. Defendant was driving a 2003 Chevrolet Tahoe on the same icy road, in the

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     same direction as the Corolla stopped on the roadside.

18
     10. Defendant failed to exercise reasonable care in driving his vehicle by driving

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     at a speed excessive for the conditions then and there existing, and due to his

20
     negligent driving, lost control of the Tahoe.

21
     11. As a result of Defendant's negligence, as Ms. Sapp sat belted into the

22
     passenger seat, Defendant rear-ended the Toyota with the Tahoe.

23
     12. The collision channeled a severe impact into the rear of the Toyota, completely

24
     compacting the trunk and hurling Ms. Sapp forward with such force that her

25
     fastened seat belt failed to restrain her and her face hit the dashboard, traumatically

26
     fracturing her nose and driving fragments of her prescription glasses into her face

27
     and nose. She was instantly bleeding profusely and suffering excruciating pain.

28
     13. Ms. Sapp was diagnosed as suffering an open displaced comminuted nasal
     fracture with multiple deep lacerations to the nose, and foreign bodies lodged in
     ______________________________________________                            _______________________________
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 1
     the stellate wound. She exhibited severe swelling, epistaxis, deep laceration with
 2
     bleeding involving the bridge of the nose, and deformity. Multiple foreign bodies
 3
     were extracted from her face with forceps, the stellate wound was repaired with
 4
     sutures, bleeding was controlled, and she was discharged with are prescription for
 5
     painkillers and directions to obtain surgical care.
 6
     14. Although Ms. Sapp was able to schedule a prompt visit to an ear, nose and
 7
     throat doctor ("ENT"), because of the severity of the fracture, immediate surgery
 8
     could not be performed. The ENT removed additional pieces of impacted plastic
 9
     from Ms. Sapp's face, and re-stitched the wound. In an unsuccessful effort to push
10
     a bone protruding from the left side of her nose back into place by pushing a rod up
11
     her nostril, Ms. Sapp suffered the most excruciating pain of her life. Severely
12
     traumatized and dazed from the unsuccessful, agonizing procedure, Ms. Sapp went
13
     home and slept twelve hours straight.
14
     15. When the cast and stitches were removed from Ms. Sapp's face, the protruding
15
     bone on the left side of her nose appeared more pronounced, she suffered from
16
     nasal obstruction of the left nostril, and was afflicted with pain that restricted
17
     making some facial expressions.
18
     16. Ms. Sapp was unable to obtain surgery for eleven months, during which she
19
     suffered increasing, agonizing emotional distress and humiliation from seeing the
20
     pink and red scar that slashed diagonally across the bridge of her nose, disfiguring
21
     her formerly highly-attractive face. Seeing pre-accident pictures of herself
22
     provoked spontaneous weeping.
23
     17. Previous to the accident, Ms. Sapp had worked as a hair stylist, a model, and
24
     performed background work in motion pictures. After the accident, she became
25
     fearful of meeting her clients in the mirror-lined salon, and did not seek work in
26
     the modeling or film industry.
27
     18. In February 2017 she was diagnosed with depression and prescribed an
28
     antidepressant. Towards the end of March, she was diagnosed with General

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     Anxiety Disorder. Ms. Sapp lost appetite, and although previously slender, her
 2
     weight decreased by fifteen pounds.
 3
     19. Sleep became impossible for Ms. Sapp, due to soreness in her neck and fears
 4
     for her health and economic future. Her depression worsened, and on May 18,
 5
     2017, Ms. Sapp was diagnosed with depression, and was prescribed additional
 6
     therapy and medication.
 7
     20. Some workdays, after a sleepless night of anxious thoughts, Ms. Sapp was too
 8
     depressed to go to work. She suffered anxiety while driving, and found the
 9
     commute to work highly stressful, and on occasion, prevented her from even trying
10
     to drive to work. In June 2017, Ms. Sapp lost her job when her employers
11
     complained that she had been absent too often. At the end of June, Ms. Sapp's
12
     relationship with her significant other failed under the strain, and the young man
13
     ended the relationship.
14
     21. On December 5, 2018, Ms. Sapp received a septorhinoplasty that corrected
15
     much of the dysfunction in her breathing, corrected the displacement of the bone in
16
     her nose, and reduced the severity of the scarring; however, the surgeons
17
     recommended future surgery to revise residual scarring across the bridge of Ms.
18
     Sapp's nose.
19
     22. As a proximate and legal cause of Defendant's negligence, Ms. Sapp has
20
     suffered economic damages in the amount of not less than $65,000, inclusive of
21
     medical expenses, lost wages, and borrowings necessitated to cover life expenses
22
     during her period of unemployment. Ms. Sapp will suffer future economic
23
     damages in the form of medical expenses for plastic surgery to complete scar
24
     revisions and therapy, at an estimated cost of $100,000. Ms. Sapp will suffer
25
     future lost wages in the amount of $20,000. Ms. Sapp has suffered non-economic
26
     damages in the amount of $2,000,000, being the reasonable value of suffering
27
     agonizing and continuous facial, head, neck, shoulder and back pain due to the
28
     initial impact, residual trauma, and painful treatments necessary to treat the

     ______________________________________________                            _______________________________
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     injuries, and the extreme anguish, pain, humiliation, embarrassment, depression,
 2
     and anxiety that resulted from facial disfigurement, and due to unemployment,
 3
     poverty, and loss of social status and friendships as a consequence of economic
 4
     displacement.
 5

 6
                                        PRAYER FOR RELIEF

 7           WHEREFORE, Plaintiff requests entry of judgment in its favor and against
 8   Defendant as follows:
 9       1. For past economic damages in the amount of $65,000;
10       2. For future economic damages in the amount of $100,000;
11       3. For past and future non-economic damages in the amount of $2,000,000;
12       4. For all recoverable costs of litigation; and,
13       5. Such other and further relief that this Court may deem just and proper.
14
     Dated: January 7, 2019                           CHARLES CARREON
15
                                                      Attorney
                                                         orney at Law,
16

17                                                    By:
                                                      CHARLES
                                                         ARLES CARREON (CSB #127139)
18                                                    Attorney for Plaintiff Stephenie Sapp
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